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                               FOR PUBLICATION

                UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


              IN RE: NVIDIA CORPORATION                 No. 11-17708
              SECURITIES LITIGATION,
                                                           D.C. No.
                                                        3:08-cv-04260-
              ROBERTO COHEN; NEW JERSEY                       RS
              CARPENTERS PENSION AND ANNUITY
              FUNDS, on behalf of themselves and          OPINION
              all others similarly situated,
                               Plaintiffs-Appellants,

                                v.

              NVIDIA CORP.; JEN-HSUN HUNAG;
              MARVIN D. BURKETT,
                          Defendants-Appellees.


                    Appeal from the United States District Court
                       for the Northern District of California
                     Richard Seeborg, District Judge, Presiding

                               Argued and Submitted
                    January 14, 2014—San Francisco, California

                                Filed October 2, 2014
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             2              IN RE: NVIDIA CORP. SEC. LITIG.

                 Before: Richard C. Tallman and Sandra S. Ikuta, Circuit
                  Judges, and Beverly Reid O’Connell, District Judge.*

                               Opinion by Judge O’Connell


                                        SUMMARY**


                                      Securities Fraud

                 The panel affirmed the district court’s dismissal of a
             securities fraud action against NVIDIA Corp., a publicly
             traded semiconductor company, and other defendants under
             §§ 10(b) and 20(a) of the Securities Exchange Act of 1934
             and Securities Exchange Commission Rule 10b-5.

                 The amended complaint alleged that NVIDIA should
             have informed investors of product defects earlier and that
             absent such a disclosure, the company’s intervening
             statements regarding its financial condition were misleading
             to investors.

                 The panel held that the plaintiffs failed adequately to
             allege scienter by stating with particularity facts giving rise
             to a strong inference that the defendants acted with the
             required state of mind, as required by the Private Securities
             Litigation Reform Act, because they intentionally misled


                 *
                The Honorable Beverly Reid O’Connell, United States District Judge
             for the Central District of California, sitting by designation.
                 **
                 This summary constitutes no part of the opinion of the court. It has
             been prepared by court staff for the convenience of the reader.
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             investors, or were at least deliberately reckless. Agreeing
             with the Third Circuit, the panel held that the district court
             did not err by failing to consider plaintiffs’ allegations of
             scienter in the context of Item 303 of Regulation S-K, C.F.R.
             § 229.303, because Item 303’s disclosure duty is not
             actionable under § 10(b) and Rule 10b-5. The panel held that
             none of the plaintiffs’ allegations of scienter created a strong
             inference of scienter individually and that, together, they did
             not give rise to a strong inference of scienter holistically. The
             panel concluded that neither the corporate scienter doctrine
             nor the core operations doctrine supported a strong inference
             of scienter.


                                      COUNSEL

             David Brower (argued), Brower Piven, New York, New
             York, for Plaintiffs-Appellants.

             James Kramer (argued) and Michael Torpey, Orrick,
             Herrington & Sutcliffe, LLP, San Francisco, California, for
             Defendants-Appellees.


                                       OPINION

             O’CONNELL, District Judge:

                 This case involves allegations of securities fraud.
             Defendant NVIDIA Corporation is a publicly traded
             semiconductor company. In the spring of 2008, it disclosed
             to investors information about defects in two of its products.
             A little over one month later, it further disclosed that it would
             be taking a $150–$200 million charge to cover costs arising
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             from those product defects. As a result, NVIDIA’s share
             price dropped 31% and its market capitalization contracted by
             $3 billion. According to Plaintiffs, who had purchased
             NVIDIA’s stock in the preceding eight months, the company
             knew it would be liable for the defective products long before
             its 2008 disclosures. They claim that NVIDIA should have
             informed investors about the defects as early as November
             2007. They further contend that, absent a disclosure about
             the product defects, NVIDIA’s intervening statements
             regarding its financial condition were misleading to investors,
             and consequently in violation of Section 10(b) of the
             Securities Exchange Act of 1934 and corresponding
             Securities Exchange Commission (“SEC”) Rule 10b-5.

                 The district court below dismissed Plaintiffs’ amended
             complaint without further leave to amend, holding that it
             failed to adequately allege scienter, a necessary element for
             a claim under either Section 10(b) or Rule 10b-5. We have
             jurisdiction under 28 U.S.C. § 1291.

                 On appeal, Plaintiffs essentially raise three distinct
             arguments, all directed to the element of scienter. First, they
             argue that the disclosure duty under Item 303 of Regulation
             S–K, 17 C.F.R. § 229.303, is actionable under Section 10(b)
             and Rule 10b-5. A proper analysis, they contend, should
             ascertain whether Defendants acted with scienter in violating
             Item 303’s disclosure duty. Second, Plaintiffs assert that the
             district court failed to consider their allegations holistically.
             They contend that, when considered holistically, their
             allegations give rise to a strong inference of scienter. Third,
             Plaintiffs argue that the district court erred in finding that
             neither the corporate scienter doctrine nor the core operations
             doctrine supports a strong inference of scienter.
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                 For the reasons discussed below, we affirm.

                                            I

                                            A.

                 NVIDIA Corporation is a publicly traded semiconductor
             company founded in 1993 by Jen-Hsun Huang, its current
             CEO. Its core business involves the design and sale of two
             similar semiconductor chips. One is a graphics processing
             unit (“GPU”); the other is a media and communications
             processor (“MCP”). In essence, GPUs are designed to
             process the vast amount of data necessary to render images to
             a computer’s visual display. MCPs are similar to GPUs in
             that they function as a GPU in addition to various other
             devices, such as a system memory interface, Ethernet
             communications controller, and audio signal processor.
             Original equipment manufacturers (“OEMs”), such as
             Hewlett-Packard (“HP”) and Dell Computer (“Dell”),
             purchase these chips and incorporate them into the
             motherboards of computers they assemble and sell to
             consumers.

                 In addition to their similar functions, GPUs and MCPs
             also share a similar configuration, which comprises two main
             parts: (1) a “die,” or the silicon chip itself; and (2) a
             “substrate,” or wafer, which is a green circuit board that
             ultimately connects the die to the motherboard’s electrical
             components. To manufacture the GPUs and MCPs, the die is
             mounted onto the substrate.             Importantly, the die
             electronically connects to the substrate through “bumps” of
             solder that relay electrical signals between the die and the rest
             of the computer. The bumps are attached to the substrate
             using a solder paste. Between the die and substrate is an
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             “underfill,” which is a glue-like material that acts as an
             additional bonding agent to fortify the connection between
             the die and substrate. Together, the solder and underfill are
             referred to as the “Material Set.”

                  Given the highly complex and technical nature of
             NVIDIA’s GPU and MCP products, there is an inherent risk
             that some will fail. As a result, NVIDIA routinely includes
             in its SEC forms a statement explaining that “[its] products
             may contain defects or flaws,” and warning investors that
             “[it] may be required to reimburse customers for costs to
             repair or replace the affected products.” To cover costs
             relating to inevitable defects, NVIDIA automatically records
             a reduction to revenue as a cash reserve. As product return
             and replacement costs accrue, NVIDIA withdraws cash from
             that reserve.

                                                  B.

                 According to the complaint, in September 2006, NVIDIA
             began experiencing problems with certain of its GPU and
             MCP products, particularly with those products’ Material Set.
             Plaintiffs allege that some of NVIDIA’s chips experienced
             cracks in the solder bumps when subjected to excessive
             pressure during product testing. At that time, NVIDIA had
             been using a “eutectic” solder1 (which has a relatively low
             lead content) together with eutectic solder paste. In an
             attempt to remedy the cracking problem, NVIDIA switched
             some of the solders used in the chips from a eutectic solder to


              1
                Solder is a compound mixture of lead and tin. A particular mixture has
             a “eutectic” composition if it has a specific ratio of lead to tin. See Donald
             Askeland & Wendelin Wright, Essentials of Materials Science &
             Engineering 359–63 (2013).
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             a high-lead solder, which is more malleable and therefore less
             susceptible to cracking from the pressure in product testing.
             It continued to use the eutectic solder paste, however.
             According to Plaintiffs, varying thermal properties of the
             new, high-lead solder and the eutectic solder paste
             contributed to new problems with NVIDIA’s chips.
             Specifically, because the two materials undergo thermal
             expansion at varying rates, the high-lead solder is susceptible
             to fatigue and cracking over time.

                 At some point, these new problems began manifesting in
             laptop computers incorporating NVIDIA’s GPU and MCP
             products that were made using high-lead solder. After HP
             (and later Dell) began investigating these problems, it
             observed new cracking of the solder bumps connecting the
             die to the substrate (the “Material Set Problem”). At first,
             NVIDIA attributed the problem to “‘customer-induced
             damage or [OEM] design issues.’” HP hypothesized that heat
             cycling was the root cause of the problem.2 Specifically, HP
             believed that the solder bumps would weaken over time due
             to repeated thermal expansion caused by heat cycling.

                 To reduce the stress on the chips’ solder bumps, and thus
             ameliorate the cracking problem, HP and Dell, with the help
             of NVIDIA, issued software updates (“BIOS”3 updates) to
             their laptop computers. These BIOS updates altered a


              2
                Heat cycling is a fluctuation of a computer’s internal temperature. As
             the computer’s internal components generate heat from usage, the internal
             temperature rises. When the computer’s sensors detect a certain,
             preprogrammed temperature, the computer’s program activates internal
             fans to lower the temperature.
              3
                  BIOS stands for Basic Input/Output System.
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             computer’s fan algorithm, causing the internal cooling fans to
             run continuously, thereby eliminating heat cycling.
             Evidently, HP believed that by maintaining a fairly constant
             temperature, the solder bumps would not undergo thermal
             expansion as often and thus not be as susceptible to fatigue
             and failure.

                 Ultimately, after significant testing, HP concluded that the
             root cause of GPU and MCP failures in its computers was not
             caused by cracking due to heat cycling, but by cracking due
             to operation of the chips within a narrow temperature range.
             Apparently, the stress on the solder bumps caused by varying
             thermal properties of the high-lead solder and eutectic solder
             paste was especially acute in this temperature range. HP
             shared with NVIDIA its data demonstrating this problematic
             thermal profile, and, at some point, NVIDIA reproduced the
             data in its own laboratories.

                 In May and June 2008, NVIDIA issued to its OEM
             customers Product Change Notifications (“PCNs”), indicating
             that it would be transitioning back to eutectic solder.

                                           C.

                 Between November 8, 2007, and May 22, 2008, NVIDIA
             filed several forms with the SEC, as required by law.
             According to Plaintiffs, those forms contained materially
             false and misleading statements, principally because they
             omitted information regarding the Material Set Problem.

                 For example, in the November 8, 2007 Form 8-K,
             Plaintiffs point to NVIDIA’s claim that “[its] core businesses
             are continuing to grow as the GPU becomes increasingly
             central to today’s computing experience.” In NVIDIA’s
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             February 13, 2008 Form 8-K, it highlights the assertion that
             “Fiscal 2008 was another outstanding and record year for us.
             Strong demand for GPUs in all market segments drove our
             growth.” Plaintiffs argue that these statements and others
             made in NVIDIA’s March 21, 2008, Form 10-K and May 8,
             2008, Form 8-K are materially false and misleading because
             NVIDIA failed to disclose reported defects in its products as
             well.

                                               D.

                 On May 22, 2008, NVIDIA disclosed in its quarterly
             report that it had received claims for reimbursement from one
             of its OEMs for incremental costs due to an “‘alleged
             die/packaging material set defect.’” The report also indicated
             that the product was included in a significant number of the
             customer’s computer products and had been shipped to other
             customers in significant quantities. NVIDIA explained that
             it was “evaluating the potential scope” of the problem “and
             cause of the alleged defect and the merits of the customer’s
             claim.” It further indicated that it was “unable to estimate the
             amount of costs that may be incurred” at that time.

                 Just over one month later, on July 2, 2008, NVIDIA filed
             an SEC Form 8-K indicating it would be taking “a $150 to
             $200 million charge to cover warranty, repair, return,
             replacement, and other costs ‘arising from a weak
             die/packaging material set in certain versions of [its] previous
             MCP and GPU products used in notebook systems.’”4 After


              4
                Nevertheless, the form also stated that NVIDIA had “not been able to
             determine a root cause for these failures, [but] testing suggests a weak
             material set of die/package combination, system thermal management
             designs, and customer use patterns are contributing factors.”
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             NVIDIA’s July 2, 2008 disclosure, the market reacted
             accordingly, causing a 31% decline in NVIDIA’s share price
             and a decrease of over $3 billion in its market capitalization.

                                            E.

                 Plaintiffs invested in NVIDIA’s stock between November
             8, 2007 and July 2, 2008 (the “class period”). They allege
             that, beginning November 8, 2007, NVIDIA knew of the
             defect in the GPU and MCP Material Set, this knowledge was
             material to investors, and failure to disclose it made other
             statements in NVIDIA’s SEC filings misleading.

                 Believing that Defendants violated federal securities laws,
             Plaintiffs filed three separate lawsuits, which the district court
             consolidated into a single action. In the consolidated
             complaint, Plaintiffs allege three distinct but related counts.
             In the first and second counts, they allege that NVIDIA and
             Huang, respectively, are liable for violations of both Section
             10(b) of the Securities Exchange Act of 1934 and
             corresponding SEC Rule 10b-5. In the third count, they aver
             that Huang is further liable for violations of Section 20(a) of
             the Securities Exchange Act of 1934.

                 Upon Defendants’ motion, the district court dismissed
             Plaintiffs’ first consolidated class action complaint with leave
             to amend. Plaintiffs then filed a second consolidated class
             action complaint. Upon a second motion by Defendants, the
             district court dismissed that complaint without leave to
             amend. In its order of dismissal, the district court specifically
             held that Plaintiffs failed to sufficiently plead scienter, an
             element required for each count.
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                                           II

                 We review dismissals under Federal Rule of Civil
             Procedure 12(b)(6) de novo. In re Daou Sys., Inc., 411 F.3d
             1006, 1013 (9th Cir. 2005). In doing so, we accept as true all
             factual allegations and determine whether they are sufficient
             to state a claim for relief; we do not, however, accept as true
             allegations that are conclusory. Ashcroft v. Iqbal, 556 U.S.
             662, 678 (2009). Moreover, “[f]actual allegations must be
             enough to raise a right to relief above the speculative level.”
             Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). There
             must be “more than a sheer possibility that a defendant has
             acted unlawfully.” Iqbal, 556 U.S. at 678.

                In reviewing the sufficiency of a complaint, we limit
             ourselves to the complaint itself and its attached exhibits,
             documents incorporated by reference, and matters properly
             subject to judicial notice. Tellabs, Inc. v. Makor Issues &
             Rights, Ltd., 551 U.S. 308, 322–23 (2007); Lee v. City of Los
             Angeles, 250 F.3d 668, 688 (9th Cir. 2001).

                                          III

                                           A.

                                           1.

                 Section 10(b) of the Securities Exchange Act of 1934
             declares it unlawful to “use or employ, in connection with the
             purchase or sale of any security . . . , any manipulative or
             deceptive device or contrivance in contravention of such rules
             and regulations as the [SEC] may prescribe as necessary.”
             15 U.S.C. § 78j(b). As the Supreme Court has indicated,
             there is an “implied [] private cause of action” in
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             Section 10(b). Matrixx Initiatives, Inc. v. Siracusano, 131 S.
             Ct. 1309, 1317 (2011). Additionally, “SEC Rule 10b-5
             implements [Section 10(b)] by making it unlawful to . . .
             ‘make any untrue statement of a material fact or to omit to
             state a material fact necessary in order to make the statements
             made . . . not misleading.’” Id. (quoting 17 C.F.R. § 240.10b-
             5). Thus, to prevail on a claim for violations of either Section
             10(b) or Rule 10b-5, a plaintiff must prove six elements:
             “(1) a material misrepresentation or omission by the
             defendant; (2) scienter; (3) a connection between the
             misrepresentation or omission and the purchase or sale of a
             security; (4) reliance upon the misrepresentation or omission;
             (5) economic loss; and (6) loss causation.” Stoneridge Inv.
             Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S. 148, 157
             (2008).

                 Section 20(a) of the Securities Exchange Act of 1934
             provides for liability of a “controlling person.” 15 U.S.C.
             § 78t(a). To establish a cause of action under this provision,
             a plaintiff must first prove a primary violation of underlying
             federal securities laws, such as Section 10(b) or Rule 10b-5,
             and then show that the defendant exercised actual power over
             the primary violator. Howard v. Everex Sys., Inc., 228 F.3d
             1057, 1065 (9th Cir. 2000). Accordingly, our analysis
             focuses on Plaintiffs’ allegations under Section 10(b) and
             Rule 10b-5.

                                            2.

                 When alleging violations of federal securities laws, a
             plaintiff must satisfy the pleading requirements pronounced
             in the Private Securities Litigation Reform Act of 1995
             (“PSLRA”). Zucco Partners, LLC v. Digimarc Corp.,
             552 F.3d 981, 990–91 (9th Cir. 2009). In passing this act,
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             Congress “significantly altered pleading requirements in
             securities fraud cases [by] . . . requir[ing] that a complaint
             plead with particularity both falsity and scienter.” Id. at 990
             (internal citations and quotation marks omitted). More
             precisely, now a complaint must “state with particularity facts
             giving rise to a strong inference that the defendant acted with
             the required state of mind.” 15 U.S.C. § 78u-4(b)(2)(A).

                 To assist courts in determining whether a plaintiff has
             satisfied this heightened pleading standard, the Supreme
             Court has provided three points of instruction: (1) “courts
             must, as with any [12(b)(6)] motion to dismiss . . . , accept all
             factual allegations in the complaint as true”; (2) “courts must
             consider the complaint in its entirety, as well as other sources
             courts ordinarily examine when ruling on Rule 12(b)(6)
             motions to dismiss”; and (3) “in determining whether the
             pleaded facts give rise to a ‘strong’ inference of scienter, the
             court must take into account plausible opposing inferences.”
             Tellabs, 551 U.S. at 322–23. In discussing the third point, the
             Court explained that, although “[t]he inference [of scienter]
             need not be irrefutable, . . . or even the ‘most plausible of
             competing inferences,’” it “must be more than merely
             ‘reasonable’ or ‘permissible’—it must be cogent and
             compelling, thus strong in light of other [countervailing]
             explanations.” Id. at 324 (citations omitted). Ultimately, the
             Court held that “[a] complaint will survive . . . only if a
             reasonable person would deem the inference of scienter
             cogent and at least as compelling as any opposing inference
             one could draw from the facts alleged.” Id.

                                            3.

                 Having outlined the lens through which we must consider
             Plaintiffs’ allegations of scienter, we now turn to the
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             definition of scienter itself. In Ernst & Ernst v. Hochfelder,
             the Supreme Court explained in a footnote that “the term
             ‘scienter’ refers to a mental state embracing intent to deceive,
             manipulate, or defraud.” 425 U.S. 185, 193 n.12 (1976). The
             Court recognized that some Courts of Appeals include within
             their definition of scienter a form of recklessness, but it did
             not address whether those courts are correct in doing so. Id.
             As recently as in its decision in Matrixx Initiatives, the Court
             stated that it “ha[s] not [yet] decided whether recklessness
             suffices to fulfill the scienter requirement.” 131 S. Ct. at
             1323.

                 In this circuit, we have “held that recklessness may satisfy
             the element of scienter.” Hollinger v. Titan Capital Corp.,
             914 F.2d 1564, 1568–69 (9th Cir. 1990) (en banc). We
             defined recklessness “‘as a highly unreasonable omission,
             involving . . . an extreme departure from the standards of
             ordinary care, and which presents a danger of misleading
             buyers or sellers that is either known to the defendant or is so
             obvious that the actor must have been aware of it.’” Id. at
             1569 (quoting Sundstrand Corp. v. Sun Chem. Corp.,
             553 F.2d 1033, 1044–45 (7th Cir. 1977)).5 We added that
             “the danger of misleading buyers must be actually known or
             so obvious that any reasonable man would be legally bound
             as knowing.” Id. at 1569–70 (internal quotation marks
             omitted). In In re Silicon Graphics Inc. Securities Litigation,
             we opined that the wording of our previous decisions
             discussing recklessness—including our decision in
             Hollinger—indicates that the standard for recklessness is
             actually much closer to one of intent: “These cases indicate
             that recklessness only satisfies scienter under § 10(b) to the

               5
                  In Hollinger, we expressly “adopt[ed] the standard of recklessness
             articulated by the Seventh Circuit in Sundstrand Corp.” 914 F.2d at 1569.
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             extent that it reflects some degree of intentional or conscious
             misconduct.”        183 F.3d 970, 977 (9th Cir. 1999).
             Accordingly, we explained that scienter requires “a strong
             inference of, at a minimum, ‘deliberate recklessness.’” Id.
             (emphasis added).6 Since then, we have consistently applied
             the “deliberate recklessness” terminology and standard
             articulated in Silicon Graphics. See, e.g., In re VeriFone
             Holdings, Inc. Sec. Litig., 704 F.3d 694, 702 (9th Cir. 2012);
             Zucco Partners, 552 F.3d at 991; In re Daou Sys., Inc., 411
             F.3d at 1022.7

                       We now address Plaintiffs’ arguments on appeal.




               6
                 It appears that the term “deliberate recklessness” was coined by the
             district court that we affirmed in Silicon Graphics. Our opinion in that
             case was the first time we ever used the term. The only other appellate
             court to have used the term previously did so less than one month before
             we did, and it cited to the district court’s decision that we affirmed, In re
             Silicon Graphics, Inc. Securities Litigation, 970 F. Supp. 746 (N.D. Cal.
             1997). See In re Advanta Corp. Sec. Litig., 180 F.3d 525, 530 (3d Cir.
             1999).
                   7
                   In their reply brief, Plaintiffs cite In re Oracle Corp. Securities
             Litigation, 627 F.3d 376, 390 (9th Cir. 2010), and argue that the standard
             for deliberate recklessness does not include an element of intent or
             conscious misconduct. Oracle, however, concerned the scienter standard
             for summary judgment, and we had previously held that “[b]ecause the
             PSLRA did not alter the substantive requirements for scienter under
             § 10(b), [] the standard [for establishing scienter] on summary judgment
             or JMOL remains unaltered by In Re Silicon Graphics.” Howard,
             228 F.3d at 1064. Unlike Oracle or Howard, this case comes to us
             following a motion to dismiss. We therefore apply the standard set forth
             in In re Silicon Graphics.
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                                                   B.

                 Plaintiffs first argue that the district court erred by failing
             to consider their allegations of scienter in the context of Item
             303 of Regulation S–K, 17 C.F.R. § 229.303.8 They correctly
             assert that Item 303 requires disclosure of certain
             information. But then they contend that, if the information is
             material, failure to disclose it constitutes a material omission
             for purposes of Section 10(b) and Rule 10b-5. Ultimately,
             Plaintiffs argue that the district court’s analysis should have
             focused on whether NVIDIA acted with scienter in failing to
             make the Item 303 disclosure.

                 We have never directly decided whether Item 303’s
             disclosure duty is actionable under Section 10(b) and Rule
             10b-5. We now hold that it is not.

                 To prevail on a claim under Section 10(b) or Rule 10b-5,
             a plaintiff must demonstrate that the defendant made a
             misleading statement or omission of material fact. Matrixx
             Initiatives, 131 S. Ct. at 1318. Thus, a statement might be
             misleading because it affirmatively misstates information. Or
             a statement might be misleading because it is made outside


               8
                   Item 303, 17 C.F.R. § 229.303(a)(3)(ii), requires registrants to:

                        Describe any known trends or uncertainties that have
                        had or that the registrant reasonably expects will have
                        a material favorable or unfavorable impact on net sales
                        or revenues or income from continuing operations. If
                        the registrant knows of events that will cause a material
                        change in the relationship between costs and revenues
                        (such as known future increases in costs of labor or
                        materials or price increases or inventory adjustments),
                        the change in the relationship shall be disclosed.
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             the context of other material information. Yet neither
             Section 10(b) nor Rule 10b-5 “create[s] an affirmative duty
             to disclose any and all material information. Disclosure is
             required under these provisions only when necessary ‘to
             make . . . statements made, in the [sic] light of the
             circumstances under which they were made, not
             misleading.’” Id. at 1321–22 (alteration in original) (quoting
             17 C.F.R. § 240.10b-5). In Basic Inc. v. Levinson, the
             Supreme Court noted that “[s]ilence, absent a duty to
             disclose, is not misleading under Rule 10b-5.” 485 U.S. 224,
             239 n.17 (1988). The Court did not explain what would give
             rise to a duty to disclose, but it is this language in Basic that
             Plaintiffs cite in support of their argument. They assert that
             Item 303 creates “a duty to disclose,” and failure to disclose
             it is therefore misleading for purposes of Section 10(b) and
             Rule 10b-5.

                 We have confronted a similar argument before. See In re
             VeriFone Sec. Litig., 11 F.3d 865, 870 (9th Cir. 1993); In re
             Lyondell Petrochemical Co. Sec. Litig., 984 F.2d 1050,
             1053 (9th Cir. 1993); In re Convergent Techs. Sec. Litig.,
             948 F.2d 507, 516 (9th Cir. 1991). In each instance, we
             strongly suggested that a violation of Item 303 cannot be used
             to show a violation of Section 10(b) and Rule 10b-5. We
             noted that, “[w]hile § 229.303(a)(3)(ii) provides that ‘known
             trends or uncertainties’ be disclosed in certain SEC filings,”
             Instruction 7 to Item 303(a) “states that forward-looking
             information need not be disclosed.” In re VeriFone, 11 F.3d
             at 870. Without further discussion, we rejected the plaintiffs’
             argument.9



               9
                Citing In re VeriFone, we recently noted that failure to comply with
             Regulation S–K is insufficient for a claim under Rule 10b-5. Police Ret.
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                 In Oran v. Stafford, the Third Circuit decided this issue
             more directly. 226 F.3d 275, 287–88 (3d Cir. 2000). We are
             persuaded by its reasoning. There, the court explained that
             Item 303’s disclosure requirement “varies considerably from
             the general test for securities fraud materiality set out by the
             Supreme Court in Basic Inc. v. Levinson.” Id. at 288. In
             relevant part, Item 303 requires corporate management to
             “[d]escribe [in 10-K and 10-Q forms] any known trends or
             uncertainties that have had or that the registrant reasonably
             expects will have a material favorable or unfavorable impact
             on net sales or revenues or income from continuing
             operations.” 17 C.F.R. § 229.303(a)(3)(ii). The SEC shed
             further light on this requirement in an interpretive release:

                      Where a trend, demand, commitment, event or
                      uncertainty is known, management must make
                      two assessments:

                      (1) Is the known trend, demand, commitment,
                      event or uncertainty likely to come to
                      fruition? If management determines that it is
                      not reasonably likely to occur, no disclosure is
                      required.

                      (2) If management cannot make that
                      determination, it must evaluate objectively the
                      consequences of the known trend, demand,
                      commitment, event or uncertainty, on the
                      assumption that it will come to fruition.
                      Disclosure is then required unless
                      management determines that a material effect


             Sys. of St. Louis v. Intuitive Surgical, Inc., 759 F.3d 1051, 1061 n.4 (9th
             Cir. 2014).
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                    on the registrant’s financial condition or
                    results of operations is not reasonably likely
                    to occur.

             Management’s Discussion and Analysis of Financial
             Condition and Results of Operations, Exchange Act Release
             No. 34-26831, 54 Fed. Reg. 22427, 22430 (May 24, 1989).
             On the other hand, in Basic, the Supreme Court stated that
             materiality of forward-looking information depends “upon a
             balancing of both the indicated probability that the event will
             occur and the anticipated magnitude of the event in light of
             the totality of the company activity.” 485 U.S. at 238
             (internal quotation marks omitted).

                 As the court in Oran also determined, these two standards
             differ considerably. 226 F.3d at 288. Management’s duty to
             disclose under Item 303 is much broader than what is
             required under the standard pronounced in Basic. The SEC
             intimated this point as well: “[Item 303] mandates disclosure
             of specified forward-looking information, and specifies its
             own standard for disclosure—i.e., reasonably likely to have
             a material effect. . . . The probability/magnitude test for
             materiality approved by the Supreme Court in Basic, Inc., v.
             Levinson, 108 S. Ct. 978 (1988), is inapposite to Item 303
             disclosure.” Exchange Act Release No. 34-26831, 54 Fed.
             Reg. at 22430 n.27. The SEC’s effort to distinguish Basic’s
             materiality test from Item 303’s disclosure requirement
             provides further support for the position that Item 303
             requires more than Basic—what must be disclosed under Item
             303 is not necessarily required under the standard in Basic.
             Therefore, “[b]ecause the materiality standards for Rule 10b-
             5 and [Item 303] differ significantly, the ‘demonstration of a
             violation of the disclosure requirements of Item 303 does not
             lead inevitably to the conclusion that such disclosure would
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             be required under Rule 10b-5. Such a duty to disclose must
             be separately shown.’” Oran, 226 F.3d at 288.

                 Plaintiffs’ reliance on Litwin v. Blackstone Group, L.P.,
             634 F.3d 706 (2d Cir. 2011), and Panther Partners Inc. v.
             Ikanos Communications, Inc., 681 F.3d 114 (2d Cir. 2012), is
             unavailing. Those cases involved alleged violations of
             Sections 11 and 12(a)(2) of the Securities Act of 1933, not
             Section 10(b) or Rule 10b-5. And, as we acknowledged in
             Steckman v. Hart Brewing, Inc., “Section 10(b) of the
             Exchange Act . . . differs significantly from Sections 11 and
             12(a)(2) of the Securities Act.” 143 F.3d 1293, 1296 (9th Cir.
             1998). Liability under Sections 11 and 12(a)(2) of the
             Securities Act may arise from “omitt[ing] to state a material
             fact required to be stated.” See 15 U.S.C. §§ 77k(a), 77l(b).
             To put it differently, liability arises from “an omission in
             contravention of an affirmative legal disclosure obligation.”
             Panther Partners, 681 F.3d at 120. There is no such
             requirement under Section 10(b) or Rule 10b-5. As discussed
             above, for purposes of Section 10(b) and Rule 10b-5, material
             information need not be disclosed unless omission of that
             information would cause other information that is disclosed
             to be misleading. Matrixx Initiatives, 131 S. Ct. at 1321.
             Furthermore, as noted in Panther Partners, scienter is not an
             element of either a Section 11 or Section 12(a)(2) claim.
             681 F.3d at 120. Such claims are not subject to the PSLRA’s
             heightened pleading standards unless based on allegations of
             fraud. Id. Accordingly, neither Panther Partners nor Litwin
             affects our analysis here.

                 Also unavailing is Plaintiffs’ reliance on Simon v.
             American Power Conversion Corp., 945 F. Supp. 416 (D.R.I.
             1996). In that case, then-Chief Judge Laguex opined that
             Item 303 imposes “an affirmative duty to disclose,” and
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             found that the defendant’s failure to disclose in that case was
             actionable. Simon, 945 F. Supp. at 431. Subsequently,
             however, Judge Laguex clarified his opinion: “As this Court
             noted in Simon, the disclosure rules are probative of what
             defendants are otherwise obliged to disclose but do not,
             themselves, provide an independent duty of disclosure.”
             Kafenbaum v. GTECH Holdings Corp., 217 F. Supp. 2d 238,
             249 (D.R.I. 2002). He went on to say that “plaintiffs may not
             rely solely upon Item 303 to prove that defendants failed to
             disclose material information as a matter of law [in violation
             of Rule 10b-5].” Id. at 250.

                 In sum, we hold that Item 303 does not create a duty to
             disclose for purposes of Section 10(b) and Rule 10b-5. Such
             a duty to disclose must be separately shown according to the
             principles set forth by the Supreme Court in Basic and
             Matrixx Initiatives.

                                            C.

                Next, Plaintiffs contend that the district court erred by not
             considering their allegations of scienter holistically.

                 In Tellabs, the Supreme Court explained that, when
             assessing allegations of scienter, a “court’s job is not to
             scrutinize each allegation in isolation but to assess all the
             allegations holistically . . . . [T]he reviewing court must ask:
             When the allegations are accepted as true and taken
             collectively, would a reasonable person deem the inference of
             scienter at least as strong as any opposing inference?”
             551 U.S. at 326 (citations omitted). We apply this same
             standard but in a dual inquiry. First, we determine whether
             any of the plaintiff’s allegations, standing alone, is sufficient
             to create a strong inference of scienter. Zucco Partners,
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             552 F.3d at 992. If none is sufficient alone, we then consider
             the allegations holistically to determine whether they create
             a strong inference of scienter taken together. Id.

                  We have reviewed Plaintiffs’ allegations in their entirety.
             We find that none creates a strong inference of scienter
             individually. And, together, they do not give rise to a strong
             inference of scienter holistically. The most compelling
             inference that we can reasonably draw is that NVIDIA was
             first investigating the root cause, and then the scope, of the
             Material Set Problem; once it determined that its liability
             would exceed its normal reserves, NVIDIA disclosed the
             problem to investors. Any inference of scienter requires more
             than this. Thus, while the complaint may plausibly allege
             knowledge of the Material Set Problem, it does not plausibly
             allege that NVIDIA and Huang intentionally misled investors,
             or acted with deliberate recklessness, by not disclosing the
             problem sooner. We discuss our reasoning below.

                 Plaintiffs contend that NVIDIA acted with scienter in
             withholding from investors certain information regarding the
             Material Set Problem. They allege that, between November
             2007 and July 2008, NVIDIA made various statements in its
             SEC forms regarding its financial performance and the
             quality of its products. Plaintiffs argue that those statements
             were materially false and misleading because NVIDIA did
             not also disclose that certain of its products were failing at an
             abnormal rate and that NVIDIA ultimately would be
             financially responsible for replacement costs. According to
             Plaintiffs, NVIDIA first determined that it would be
             financially liable for the chip failures by the middle of 2007;
             nevertheless, it did not disclose this to investors until July
             2008. From these facts, Plaintiffs infer that NVIDIA
             intentionally misled investors by waiting to disclose its
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             liability for almost an entire year, until it had prepared
             replacement products.

                 In evaluating Plaintiffs’ inference of scienter, we bear in
             mind that NVIDIA includes in its SEC forms a statement
             explaining that “[its] products may contain defects or flaws”
             and warning investors that “[it] may be required to reimburse
             customers for costs to repair or replace the affected
             products.” Moreover, we are mindful that, because product
             defects are so common, NVIDIA automatically records a
             reduction to revenue as a cash reserve to cover costs relating
             to the inevitable product failures. Bearing these facts in
             mind, we must determine whether Plaintiffs’ allegations
             create a strong inference of scienter that Huang and NVIDIA
             intentionally misled investors, or were at least deliberately
             reckless, by not disclosing NVIDIA’s liability for chip
             failures prior to July 2008.

                                           1.

                 Plaintiffs allege that NVIDIA first became aware of the
             Material Set Problem sometime in 2006, and then determined
             the root cause of the problem—and therefore that it would be
             financially responsible for it—by the middle of 2007. Then
             they contend that the one-year delay between NVIDIA’s root
             cause determination in mid-2007 and its disclosure of the
             problem in 2008 was motivated by an intent to mislead
             investors until it had prepared replacement products.
             Nevertheless, Plaintiffs’ allegations that NVIDIA first
             determined the root cause of its chip failures by the middle of
             2007 are implausible. In so alleging, Plaintiffs rely most
             directly on the accounts of Confidential Witness No. 1
             (“CW1”), Confidential Witness No. 7 (“CW7”), and articles
             written by Charlie Demerjian.
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                 According to CW1, “‘communications between HP and
             NVIDIA began in 2006, with HP asking questions, and
             asking NVIDIA to conduct [a] failure analysis.’” When
             NVIDIA initially resisted, HP began to engage it at a higher,
             executive, level. By early 2007, HP had determined that
             NVIDIA’s chips sustained physical damage through normal
             use, and therefore making NVIDIA responsible. HP
             developed “‘overwhelming data demonstrating root cause’”
             and “identified the thermal profile” that would cause
             NVIDIA’s chips to experience cracking at the solder bumps.
             CW1 asserts that HP shared the data and thermal profile with
             NVIDIA sometime in early 2007 and NVIDIA reproduced it
             by the middle of 2007.

                 The timing of CW1’s account conflicts with the account
             of Richard Hunt Hodge, HP’s Director of Engineering and
             Quality for the Notebook Division.10 According to Hodge,
             HP itself did not determine the thermal profile that would
             significantly increase the probability of chip failures until the
             middle of 2008: “Ultimately, by mid-2008, HP determined
             that operation of the NVIDIA part through a narrow
             temperature range . . . was the cause of” chip failures due to
             solder bump cracking. If HP did not determine the
             problematic thermal profile until the middle of 2008, any
             inference of scienter is significantly reduced, as NVIDIA
             disclosed the information in July 2008.

               10
                  Because Plaintiffs incorporate by reference Mr. Hunt’s declaration,
             relying on portions of it in their complaint, we may properly consider the
             declaration in its entirety. See Tellabs, 551 U.S. at 322; see also City of
             Roseville Emps.’ Ret. Sys. v. Sterling Fin. Corp., 963 F. Supp. 2d 1092,
             1107 (E.D. Wash. 2013) (“Once a document is deemed incorporated by
             reference, the entire document is assumed to be true for purposes of a
             motion to dismiss, and both parties—and the Court—are free to refer to
             any of its contents.”).
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                 The notion that HP had determined the problematic
             thermal profile in early 2007 is implausible when considered
             together with Plaintiffs’ other allegations. Plaintiffs allege
             that HP and Dell, with the help of NVIDIA, issued BIOS
             updates in November 200711 and February 2008, respectively.
             Those BIOS updates altered a computer’s fan algorithm so
             that its internal cooling fans would run continuously, thereby
             eliminating heat cycling and maintaining a fairly constant
             temperature inside the computer. Hodge explains in his
             declaration that the HP BIOS update “keeps [a GPU or MCP]
             outside of [the problematic] temperature range (usually
             around 50ºC at idle). Because it runs constantly, it obviates
             the thermal mini-cycle through the problematic narrow
             temperature range.” If HP had determined the problematic
             thermal profile in early 2007, as Plaintiffs and CW1 allege, it
             is implausible that HP would have waited until November
             2007 to issue a BIOS update that greatly reduces the
             probability of a chip failure due to solder bump cracking.12
             The implausibility of the timing in CW1’s account of events
             further detracts from any inference of scienter.



              11
                 According to Hodge, HP’s BIOS update “was released on or about on
             December 3, 2007.”
              12
                 Indeed, Hodge’s timing of events is much more plausible than CW1’s.
             He explains that HP hypothesized in November 2007 “that repeated
             temperature mini-cycling could result in solder cracks . . . and believed
             eliminating that temperature cycling would correct the issue.”
             Accordingly, HP developed the BIOS updates to maintain a constant
             temperature within its computers. Nevertheless, as HP continued testing,
             it discovered that temperature cycling itself would not induce chip
             failures, but operating the NVIDIA chip within the specific problematic
             thermal profile would induce chip failures. Fortuitously, the BIOS update
             maintained NVIDIA’s chips at a constant temperature outside of the
             problematic temperature range.
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                 Plaintiffs’ reliance on Charlie Demerjian and CW7 to
             corroborate CW1’s timing of events does not restore
             plausibility to their allegations. Demerjian is “a reporter with
             25 years experience working with computers.” He “covered
             NVIDIA’s chip defects and spoke to dozens of people about
             the problems.”         Clearly, Demerjian’s information is
             secondhand. In any event, Demerjian merely indicates that
             “HP started a ‘root cause analysis’ and by summer 2007, HP
             employees knew that NVIDIA’s GPUs were having problems
             associated with heat cycling.” This account does not indicate
             that HP had determined the root cause or problematic thermal
             profile by summer 2007. According to CW7, “Dell saw
             problems with NVIDIA GPUs in early 2007.” CW7
             indicated that NVIDIA “eventually admitted that it was their
             chip causing the problem, and that it was not a Dell issue.”
             Nevertheless, CW7 does not allege when NVIDIA admitted
             responsibility for the problems. Thus, even if Dell had
             notified NVIDIA of problems in early 2007, CW7 provides
             no basis to infer that NVIDIA also knew it would be liable at
             that time.

                 Even accepting as true CW1’s timing of events, the fact
             that NVIDIA had reproduced the problematic thermal profile
             by the middle of 2007—and thus had determined the root
             cause of the chip failures—does not create an inference of
             scienter. Plaintiffs assert that HP provided NVIDIA with
             what HP believed demonstrated root cause of, and NVIDIA’s
             liability for, the chip failures. Their allegations do not
             provide any basis to infer what NVIDIA concluded from the
             profile or other data, nor do they plausibly suggest that
             NVIDIA must have determined it was at fault at that time.
             Furthermore, Plaintiffs never allege that Huang or anyone
             else at NVIDIA knew at that time (or any time prior to July
             2008) that NVIDIA’s liability would exceed its normal
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             reserve set aside for costs associated with product failures.
             Accordingly, these allegations do not give rise to a strong
             inference that Huang and NVIDIA acted with intent to
             mislead investors, or recklessly disregarded an obvious
             danger of misleading investors, by not disclosing information
             regarding the Material Set Problem prior to July 2008.

                                           2.

                 After alleging that HP provided NVIDIA with all of its
             data demonstrating root cause and the problematic thermal
             profile, Plaintiffs assert that determining the cause of the
             problem should have been easy for NVIDIA. They rely on
             several sources to support this allegation.

                 CW1, Demerjian, and John Rigg, Plaintiffs’ consultant in
             this case, assert that “failures of the GPU are easily
             identifiable.” Confidential Witness No. 2 explains that it
             “takes about a month” to determine whether a GPU or MCP
             is generating more heat than specified. Hodge indicates that
             “it took HP less than two months to hypothesize that
             temperature cycling caused the problematic cracks in the
             solder bumps.”

                  But even if GPU failures are easily identifiable, it does
             not necessarily follow that NVIDIA would be responsible for
             those failures or should have known that it would be
             responsible. As NVIDIA initially contended, the failures
             could have been caused by OEM design issues. And
             Plaintiffs’ reliance on Hodge’s declaration for the contention
             that NVIDIA should have easily determined that it was liable
             for the chip failures is misplaced. Plaintiffs ignore the timing
             of Hodge’s account—HP did not hypothesize temperature
             mini-cycling as the root cause until November 2007. Then,
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             HP did not begin to test its hypothesis until January 2008.
             After 13 weeks of testing, HP determined that temperature
             mini-cycling was not the root cause, as its testing did not
             induce a single chip failure. It was not until sometime around
             the middle of 2008 that HP ultimately discovered the specific
             cause of chip failures: operation within the problematic
             thermal profile.

                 Plaintiffs also rely on two articles for the proposition that
             NVIDIA must have known that it was going to be liable
             sooner than it admitted. Both articles were published after
             NVIDIA’s July 2008 disclosure. One article provides
             AMD’s (one of NVIDIA’s competitors) opinion on
             NVIDIA’s chip failures. “According to the article, ‘AMD
             thinks [high-lead bumps are] more prone to fatigue and need
             “comprehensive reliability engineering to be used
             successfully.”’” AMD also notes that a high-lead solder and
             eutectic solder paste have varying thermal expansion
             coefficients, which places significant stress on the solder
             bumps. The other article discusses a research report written
             by K.N. Tu, a professor affiliated with the Department of
             Materials Science and Engineering at the University of
             California, Los Angeles. In essence, the report discusses the
             same issues discussed by AMD.

                 These articles do not contribute to an inference of
             scienter. They were written in hindsight and do not reflect
             Huang or NVIDIA’s knowledge prior to July 2008. Simply
             because scientists were able to explain in retrospect the
             science behind NVIDIA’s chip failures, it does not mean that
             NVIDIA knew or should have known it would be liable for
             those failures during the class period or that its liability would
             exceed its normal reserve.
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                 Plaintiffs also point to an email authored by HP’s Richard
             Hodge in May 2007, wherein Hodge indicated that NVIDIA
             had moved away from eutectic solder in its chips. From this
             email, Plaintiffs conclude that there are “known industry
             concerns with . . . the use of high-lead solder.” They also
             conclude, “Defendants knew and/or deliberately disregarded
             that their GPU and MCP problems likely stemmed from this
             hasty, under-tested manufacturing change initiated in 2006.”
             Nevertheless, there is no basis for this conclusion. Certainly,
             Hodge’s email suggests that he had some concern about using
             noneutectic solder. But there is nothing more to indicate an
             industry-wide concern with noneutectic solder, nor is there
             anything to suggest that NVIDIA should have known that its
             use of noneutectic solder was the root cause of its chip
             failures. Accordingly, this allegation does not appreciably
             add to any inference of scienter.

                                           3.

                 Next, Plaintiffs contend that NVIDIA delayed disclosure
             of its chip failures until it had prepared replacement chips.
             They support this contention with very few factual
             allegations, however.

                 Plaintiffs rely on statements made by CW1. After HP
             provided NVIDIA with data that HP believed demonstrated
             the root cause of the chip failures and the problematic thermal
             profile that would cause those failures, “‘NVIDIA confirmed
             to HP that it was able to reproduce the problem.’” Yet,
             according to CW1, NVIDIA “‘never admitted to getting to
             root cause, and they peddled the same story for as long as
             possible, that they were still investigating.’” CW1 also
             alleges that “NVIDIA would do the ‘PhD runaway’ to appear
             cooperative while trying to slow HP down.” In essence, CW1
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             asserts that NVIDIA’s Ph.D. employees would ask HP to
             conduct additional tests merely to buy more time.

                 As we discussed above, the timing of CW1’s account is
             implausible, especially in light of Hodge’s more-detailed
             declaration. CW1 provides no specific examples of when
             NVIDIA attempted to slow down HP by having it conduct
             meaningless tests or experiments, nor does CW1 explain why
             those tests and experiments were meaningless. From CW1’s
             assertions alone, a reasonable factfinder could not infer that
             NVIDIA was conducting needless testing or attempting to
             delay disclosure of its product defects. As a matter of law,
             CW1’s account to this end does not add to an inference of
             scienter.

                  Plaintiffs also rely on a statement made by NVIDIA’s
             Vice President of Investor Relations, Michael Hara. In
             September 2008, after NVIDIA’s disclosure, Hara explained
             to investors that the failing chips were past or near the end of
             their useful life and that NVIDIA was “‘not even shipping
             these parts anymore.’” From this statement, Plaintiffs infer
             that “Defendants stalled the disclosure of the material,
             adverse facts for several months, if not a full year, until the
             failing products were at the end of their life-cycle and the
             Company had new products to market.”

                 We agree that the coincidence of NVIDIA’s disclosure
             with the apparent end-of-life of its failing chips could, under
             some circumstances, arouse suspicion. But this statement
             alone does not create an inference that NVIDIA strategically
             delayed disclosure of its chip failures until those chips were
             past their useful life.
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                 Finally, Plaintiffs rely on the fact that NVIDIA
             participated in preparation of BIOS updates and issued PCNs.
             As we discussed above, the uncontested evidence shows that
             in November 2007, NVIDIA helped HP (and later Dell) issue
             BIOS software updates that altered a computer’s fan
             algorithm. In May and June 2008, NVIDIA issued PCNs that
             indicated it would be changing back to a eutectic solder in its
             GPUs and MCPs.            Plaintiffs allege that significant
             engineering is required to transition from one Material Set to
             another. From these facts, Plaintiffs conclude that NVIDIA
             must have known it was liable for the product defects long
             before its disclosure. But these facts do not mandate such a
             conclusion. The BIOS updates were intended to ease stress
             caused by heat cycling, which, as NVIDIA first contended,
             could have been caused by OEM design issues. Even if
             NVIDIA decided to transition back to eutectic solder long
             before it issued PCNs in May and June 2008, it does not
             necessarily mean that NVIDIA knew it was responsible for
             the failures. A more plausible inference is that NVIDIA
             believed that high-lead solder was a contributing factor and
             switched back to eutectic solder to eliminate it.

                                           4.

                 After alleging that NVIDIA delayed disclosure until it had
             prepared replacement chips, Plaintiffs attempt to buttress that
             allegation by contending that NVIDIA has a history of
             delaying disclosure of known problems. Nevertheless, they
             rest their contention on the accounts of several confidential
             witnesses whose experiences do not contribute to an inference
             of scienter. Their accounts are unspecific and speculative.
             More problematic, some witnesses never worked for
             NVIDIA. And those who did either stopped working there
             long before the Material Set Problem arose or worked in an
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             area unrelated to it, such as environmental engineering or
             “Staffing Systems and Compliance.”

                 For example, Confidential Witness No. 11 (“CW11”)
             worked for NVIDIA as a senior engineering manager
             between December 2002 and March 2006, months before the
             product failures arose. CW11’s declaration maintains that
             NVIDIA is “arrogant, [and] think[s it] never do[es] wrong,”
             and “operated with a ‘failure to recognize real problems.’”
             Confidential Witness No. 12 (“CW12”) was a sales director
             for one of NVIDIA’s vendors. CW12 “stated that NVIDIA
             was notorious for blaming other entities for product related
             problems. . . . ‘Some of the time they were right in [blaming
             others] and some of the time they were wrong, but their
             default was always to say, “This is not our problem. This is
             your problem.”’”

                 Confidential Witness No. 13 (“CW13”) worked at
             NVIDIA as an environmental compliance engineer. CW13
             “stated that NVIDIA has a history of failing to take
             responsibility for Company problems.” CW13 believes that
             NVIDIA “‘had the following mentality: “Don’t say anything
             to muck the waters.”’” “[Confidential Witness No. 15
             (“CW15”)], a former NVIDIA Staffing Systems and
             Compliance Analyst, stated that s/he was told: ‘I don’t care
             what you do, just make us look good.’” CW15 provides no
             context, however, as to who made the statement or why the
             statement was made. Confidential Witness No. 16 (“CW16”)
             worked for a website that sold NVIDIA products. CW16
             stated, “‘I’ve seen a lot of hostile actions from [NVIDIA] . . .
             ‘NVIDIA tends to be a little “scrooge-ish” when it comes to
             scrapping their failure percentage rates. . . . They’ve had a lot
             of fiascos in the past with like the GeForce 2 Ultra, a lot of
             overheating issues.’”
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                 These statements do not give rise to an inference of
             scienter individually. The testimony of Confidential Witness
             No. 14 (“CW14”) provides the most probative evidence
             indicating that NVIDIA had a culture of failing to take
             responsibility for known problems. CW14 was a “Director of
             IC Quality and Reliability for NVIDIA.” According to
             CW14, there was an instance where employees at NVIDIA
             knew of a design flaw in one of its products, but did not
             reveal it until after NVIDIA’s customer had discovered and
             contained the problem. CW14’s testimony is less significant,
             however, when considering that his/her period of employment
             was at most one year, from 2000 to 2001, long before the
             product defects giving rise to this lawsuit.

                 Accordingly, these allegations that NVIDIA has a history
             of delaying known problems do not give rise to a strong
             inference of scienter.

                                           5.

                 As further evidence of scienter, Plaintiffs rely on the
             existence of other lawsuits filed against NVIDIA by its
             insurers.    Apparently, after it disclosed to investors
             information regarding its defective products, NVIDIA
             submitted claims to its insurance companies to cover the
             losses sustained as a result. Foreseeably, the insurance
             companies did not want to pay NVIDIA’s claims. Thus, they
             alleged that NVIDIA knew of the defective products before
             January 2008 and had failed to provide information that the
             insurers had requested. These allegations do not significantly
             add to an inference of scienter, as the insurers litigating
             claims would attempt to avoid liability.
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                 Evidently, one of NVIDIA’s insurers also alleged the
             existence of a class action lawsuit filed against HP in
             November 2007. The insurer argued that NVIDIA knew the
             lawsuit related to problems with NVIDIA’s defective chips
             and that HP would seek indemnification from NVIDIA.
             Nevertheless, Plaintiffs never explain with any particularity
             when or how NVIDIA became aware that HP would seek
             indemnification from NVIDIA. Accordingly, the existence
             of this additional lawsuit does not add to an inference of
             scienter.

                                           6.

                 Plaintiffs also contend that, when considered with all
             other allegations, the departure of some of NVIDIA’s
             executives adds to the inference of scienter. We do not agree.

                 Plaintiffs allege that three individuals left NVIDIA after
             it disclosed the defective products. On May 27, 2008,
             NVIDIA’s CFO, Marvin Burkett, announced his retirement.
             Significantly, Burkett continued as interim CFO until a
             replacement was hired, and in February 2009, he became a
             senior advisor to NVIDIA. In June 2008, NVIDIA’s Senior
             Director and Head of Internal Audit left the company.
             Plaintiffs do not explain, however, how this executive played
             any role in allegedly delaying the disclosure of the defective
             products. In January 2009, NVIDIA replaced David Kirk, its
             Chief Scientist. Plaintiffs fail to provide any detail as to why
             Kirk was replaced; notably, Kirk continued to work with
             NVIDIA as a research fellow.

                 In short, Plaintiffs fail to provide any facts to connect
             these departures with the problems at issue in this lawsuit.
             More detrimental to their allegations, however, is that two of
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             the three individuals remained at NVIDIA in some type of
             advisory role. Therefore, the most reasonable inference is
             that these departures were benign.

                                           7.

                 Plaintiffs argue that their allegations give rise to an
             inference of scienter under the corporate scienter doctrine.
             “‘In most cases, the most straightforward way to raise [an
             inference of scienter] for a corporate defendant will be to
             plead it for an individual defendant.’” Glazer Capital Mgmt.,
             LP v. Magistri, 549 F.3d 736, 743 (9th Cir. 2008) (quoting
             Teamsters Local 445 Freight Div. Pension Fund v. Dynex
             Capital Inc., 531 F.3d 190, 195 (2d Cir. 2008)). Yet, the
             collective scienter (or corporate scienter) doctrine recognizes
             that it is possible to raise the inference of scienter without
             doing so for a specific individual. Id. In the Ninth Circuit,
             we “ha[ve] not previously adopted a theory of collective
             scienter.” Id. at 744. Nevertheless, in Glazer Capital, we
             opined that the doctrine might be appropriate in some cases.
             Id. “For instance, as outlined in the hypothetical posed [by
             the Seventh Circuit], there could be circumstances in which
             a company’s public statements were so important and so
             dramatically false that they would create a strong inference
             that at least some corporate officials knew of the falsity upon
             publication.” Id. (citing Makor Issues & Rights, Ltd. v.
             Tellabs Inc., 513 F.3d 702, 710 (7th Cir. 2008)).

                 We do not believe the facts alleged in this case would
             give rise to an inference of scienter under the collective
             scienter doctrine. Here, Plaintiffs contend that statements
             made by NVIDIA in its SEC filings were misleading because
             NVIDIA did not also disclose information regarding the
             Material Set Problem. Those statements were not “so
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             dramatically false”—as in the example posed by the Seventh
             Circuit in Makor13—to create an inference of scienter that at
             least some corporate officials knew of the falsity upon
             publication.

                 Plaintiffs also contend that their complaint raises a strong
             inference of scienter under the core operations doctrine.
             Under this doctrine, the PSLRA’s pleading requirements may
             be satisfied, in certain circumstances, by “a scienter theory
             that infers that facts critical to a business’s ‘core operations’
             or an important transaction are known to a company’s key
             officers.” S. Ferry LP, No. 2 v. Killinger, 542 F.3d 776,
             783–84 (9th Cir. 2008). In South Ferry, we explained that, in
             light of the Supreme Court’s decision in Tellabs, the core
             operations inference may be considered when weighing a
             complaint’s allegations of scienter holistically. Id. at 784–85.
             Nevertheless, we cautioned that, “‘absent some additional
             allegation of specific information conveyed to management
             and related to the fraud’ or other allegations supporting
             scienter,” the core operations inference will generally fall
             short of a strong inference of scienter. Id. We did, however,

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                    In Makor, the Seventh Circuit illustrated its point that

                         it is possible to draw a strong inference of corporate
                         scienter without being able to name the individuals who
                         concocted and disseminated the fraud. Suppose
                         General Motors announced that it had sold one million
                         SUVs in 2006, and the actual number was zero. There
                         would be a strong inference of corporate scienter, since
                         so dramatic an announcement would have been
                         approved by corporate officials sufficiently
                         knowledgeable about the company to know that the
                         announcement was false.

             513 F.3d at 710.
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             leave open the possibility that “in some unusual
             circumstances, the core operations inference, without more,
             may raise the strong inference required by the PSLRA.” Id.
             at 785. One example of such unusual circumstances is
             “where the nature of the relevant fact is of such prominence
             that it would be ‘absurd’ to suggest that management was
             without knowledge of the matter.” Id. at 786.

                 Here, Plaintiffs never plausibly allege that specific
             information was conveyed to Huang14 or others in NVIDIA’s
             management team. They apparently attempt to do so by
             relying on the account of CW1, but CW1 lacks personal
             knowledge of these facts. “CW1 report[s] that the
             communications regarding the [chip] problems were
             conducted at a high-level [sic]: ‘These were executive level
             guys.’” CW1’s “boss was a senior technical employee, a
             Director of Quality.” “‘This guy is not going to be
             communicating with guys that are at manager level or
             engineering level.’” From this statement, it is evident that
             CW1 does not actually know whom from NVIDIA his/her
             boss communicated with regarding the chip failures. CW1
             surmises that, based on his/her boss’s status in HP’s corporate
             hierarchy, he was communicating with executive level
             personnel from NVIDIA. Accordingly, CW1 does not appear
             to have the requisite personal knowledge to assert that
             NVIDIA’s management team received specific information
             regarding the defective products.

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                  Plaintiffs do allege that Huang was heavily involved in the design of
             its chips. They support this allegation with the account of Confidential
             Witness No. 17 (“CW17”). Nevertheless, CW17 merely indicates that
             Huang “did not want an undue number of [solder] bumps” on the chips.
             This description of Huang’s involvement does not indicate that he was
             heavily involved in the design of the flawed GPUs and MCPs or in the
             decision to use high-lead solder.
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                 Even assuming CW1 did have personal knowledge that
             his/her boss communicated with NVIDIA’s executive-level
             personnel, the specific information allegedly conveyed
             related to chip failures, not the root cause of them or
             NVIDIA’s liability. As we discussed above, CW1’s assertion
             that HP had determined the root cause in early 2007 is not
             plausible.

                  Again, even assuming HP had determined the root cause
             in early 2007, Plaintiffs do not allege any facts to support the
             notion that anyone at NVIDIA arrived at the same conclusion
             as HP regarding the root cause, or that NVIDIA would be
             liable. Nor do Plaintiffs provide a basis to infer that anyone
             at NVIDIA was aware that its financial liability would exceed
             its normal reserves. Plaintiffs argue that “[k]nowledge of the
             financial impact of the chip defect should be presumed when
             the nature of the problem concerned [NVIDIA’s] flagship
             product and was cause for concern to [NVIDIA’s] two largest
             customers.” We do not agree. Without factual allegations
             showing that at least someone at NVIDIA had knowledge of
             the extent of NVIDIA’s liability, there is no basis to presume
             that NVIDIA’s management would have had such
             knowledge.

                 Accordingly, neither the collective scienter doctrine nor
             the core operations doctrine alone gives rise to a strong
             inference of scienter.

                                         ****

                 Having evaluated Plaintiffs’ allegations individually, we
             find that none creates a strong inference of scienter alone.
             Evaluating the allegations together, we find that they do not
             create a strong inference of scienter collectively. The most
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             that a reasonable factfinder could infer from Plaintiffs’
             allegations is that NVIDIA was aware that some versions of
             its GPUs and MCPs were experiencing problems sometime
             in late 2006 or early 2007. At some point, HP determined the
             thermal profile that increased the probability that NVIDIA’s
             chips would fail due to cracking at the solder bumps. HP
             shared with NVIDIA the thermal profile and other data that
             it believed demonstrated NVIDIA’s liability. NVIDIA
             evidently reproduced these data and thermal profile yet
             contested that it was at fault for the chip failures. While
             Plaintiffs infer that NVIDIA was merely delaying disclosure
             until it had prepared replacement chips, this is not a cogent
             and compelling inference. NVIDIA indicated in May 2008
             (and even in July 2008) that it had not yet determined the root
             cause of the product failures, although it evidently was
             working on a solution. Plaintiffs provide no factual basis to
             discount those statements. Moreover, product flaws are very
             common in the semiconductor industry, and NVIDIA
             regularly takes measures to account for this, as reflected in its
             disclosures. It warns investors of this possibility and sets
             aside a reserve to account for costs related to those flaws.
             Although there is some slight support for an inference that
             NVIDIA knew it was responsible for the problem before its
             disclosure, and thus acted with intent to deceive at least
             customers if not investors, a more compelling inference is
             that NVIDIA did not disclose because it was investigating the
             extent of the problem, whether it was responsible for it, and
             if so, whether it would exhaust the reserve. Accordingly, we
             hold that the complaint’s allegations do not give rise to a
             strong inference of scienter when considered holistically. See
             Tellabs, 551 U.S. at 324.

                 On appeal, Plaintiffs argue that the Supreme Court has
             rejected the “inference that defendants were delaying
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             disclosure while ‘investigating the scope of the issue.’” It is
             true that, in Matrixx Initiatives, the Supreme Court rejected
             the assertion that “‘the most cogent inference regarding [the
             defendant’s] state of mind is that it delayed releasing
             information regarding [a product defect] in order to provide
             itself an opportunity to carefully review all evidence.’”
             Matrixx Initiatives, 131 S. Ct. at 1324 n.15. Yet the Court
             also “d[id] not doubt that this may be the most cogent
             inference in some cases.” Id. In Matrixx Initiatives, the
             defendant was a pharmaceutical company that manufactured
             and sold Zicam, an over-the-counter remedy for the common
             cold. Id. at 1313–14. At some point, a doctor began giving
             public presentations indicating that Zicam was a flawed
             product and posed dangerous health risks to its users. Id. at
             1316. In response to these presentations, the defendant
             “issued a press release that suggested that studies had
             confirmed” that Zicam was not flawed. Id. at 1316, 1324.
             Nevertheless, the defendant’s press release was false, as no
             such studies existed. Id. at 1324. Accordingly, the Court
             held that “the misleading nature of [the defendant’s] press
             release is sufficient to render the inference of scienter at least
             as compelling as the inference [that the defendant was
             investigating the evidence].” Id. at 1324 n.15.

                 Here, there are no similar facts. There is no allegation
             that the issue of an inherent defect in NVIDIA’s Material Set
             was ever publicly raised prior to NVIDIA’s disclosure, nor is
             there any allegation that NVIDIA knowingly issued a false
             press release, attempting to discount any public discussion
             regarding its chips’ defects. As such, we reject Plaintiffs’
             assertion that Matrixx Initiatives forecloses the inference that
             NVIDIA delayed disclosure while it investigated the cause of
             the chip defects and the extent of its liability.
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                                        IV

                For the reasons discussed above, we affirm the district
             court’s judgment in its entirety.

                AFFIRMED.
